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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA


CHRISTOPHER DIER,
                                                  Civil Action No. 24-2306
              Plaintiff,
                                                  Judge Greg Guidry
       v.
                                                  Mag. Judge Michael North
JEFFREY MARTIN LANDRY et al,

              Defendants.




                                           ORDER

       Considering the Parties’ Joint Motion to Postpone Deadlines; R. Doc. 79,

       IT IS ORDERED that the Motion is GRANTED.

       IT IS FURTHER ORDERED that the deadlines in this Court’s October 23, 2024

Scheduling Order are continued without date until the Court decides on the currently pending

motions, R. Docs. 41, 47.
       New Orleans, Louisiana this 28th day of April 2025




                                                             __________________________
                                                              GREG GERARD GUIDRY
                                                          UNITED STATES DISTRICT JUDGE
